         Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                     )
                                                  )
               Plaintiffs,                        )
                                                  )
vs.                                               )
                                                        No. 1:17-cv-00365-DAE
                                                  )
GRANDE COMMUNICATIONS                             )
NETWORKS LLC,                                     )
                                                  )
               Defendant.
                                                  )


DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S OPPOSITION TO
   PLAINTIFFS’ MOTION IN LIMINE REGARDING THE BMG v. COX TRIAL

       The Court should reject Plaintiffs’ second attempt to reargue an issue the Court has already

decided. Plaintiffs’ motion in limine asks the Court to permit Plaintiffs to introduce “the fact of”

the BMG v. Cox trial, “the use of Rightscorp evidence in that trial,” and “the outcome in that trial.”

Pls.’ Mot. in Limine at 1 (ECF No. 418). The Court denied Plaintiffs’ request in its order resolving

the parties’ pretrial motions in limine, and the Court denied it again this past Friday. The Court

should deny Plaintiffs’ improper motion for reconsideration.

       A.      The Court’s April 8, 2020 Order Decided This Issue.

       The Court squarely addressed this issue in granting Grande’s sixth motion in limine. See

ECF No. 347 at 11. In that motion, Grande asked the Court to “enter an order precluding Plaintiffs

from introducing evidence or argument regarding or referring to any findings or judgments from

the Cox litigations.” ECF No. 318 at 4. Grande argued that evidence regarding BMG v. Cox result

is irrelevant, unfairly prejudicial, and inadmissible hearsay. See generally id. The Court granted

Grande’s motion without any caveats or qualifiers. See ECF No. 347 at 11 (“The Court thus shall

GRANT this motion (Dkt. # 318).”).
         Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 2 of 7




       B.      The Court Re-affirmed Its Ruling on Friday.

       On Friday, the Court addressed this issue again and considered Plaintiffs’ argument that

there is inconsistency in the Court’s motion in limine rulings. The Court definitively ruled that

Plaintiffs would not be permitted to introduce evidence regarding the result in BMG v. Cox:

               There isn’t going to be any evidence adduced in this case about
               what the result was in that case, what the outcome of that case
               was, how much was awarded in damages, nothing like that.

10/14/22 Trial Tr. 54:19-22 (emphasis added). The Court then gave Plaintiffs the opportunity to

reargue their position and to research the issue over the lunch break, after which the Court re-

affirmed its ruling that “[t]he outcome of the [BMG v. Cox] case has no relevance here.” Id. at

79:14-15.

       C.      Courts Consistently Exclude Evidence of Other Litigation.

       The fact that the Court has already resolved this issue twice is reason enough to deny

Plaintiffs’ motion for reconsideration. But Grande is also obligated to note that Plaintiffs do not

cite any authority permitting a party to introduce evidence about a different lawsuit.

       In fact, courts consistently hold that evidence about other cases is irrelevant or inadmissible

under Rule 403 due to the danger of confusing or misleading the jury. See, e.g., Arlio v. Lively,

474 F.3d 46, 53 (2d Cir. 2007) (“Courts are reluctant to cloud the issues in the case at trial by

admitting evidence relating to previous litigation involving one or both of the same parties.

Admitting evidence about previous cases inevitably results in trying those cases before the jury,

and the merits of the other cases would become inextricably intertwined with the case at bar. . . . .

District courts must assiduously guard juries against the siren song of irrelevant and

prejudicial prior determinations.”) (emphasis added) (cleaned up); United States v. Hill, 322

F.3d 301, 306 (4th Cir. 2003) (affirming exclusion of evidence regarding other lawsuit because it

“would have necessitated an exhaustive case within a case that would have confused the jury


                                                 1
         Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 3 of 7




as to the issues to be decided”) (emphasis added); Anderson v. Genuine Parts Co., 128 F.3d 1267,

1272 (8th Cir. 1997) (“[A] jury verdict does not constitute evidence. Rather, a jury’s verdict

simply represents findings of fact, based on the evidence presented to it.”) (emphasis added);

Athridge v. Aetna Cas. & Surety Co., 604 F.3d 625, 633 (D.C. Cir. 2010) (“Although there is no

absolute bar to the use of prior verdicts, courts are wary that their admission into evidence

creates the possibility that the jury will defer to the earlier result and thus will, effectively,

decide a case on evidence not before it.”) (emphasis added) (cleaned up); Drummond Coal Sales,

Inc. v. Norfolk S. Rwy. Co., No. 7:16-cv-489, 2019 WL 3307850, at *7 (W.D. Va. July 22, 2019)

(“Generally, courts exclude evidence of other lawsuits, even if such lawsuits are related to the case

before it.”) (collecting cases); Ragin v. Newburgh Enlarged School Dist., No. 10-cv-2797, 2011

WL 2183175, at *2 (S.D.N.Y. June 3, 2011) (“Even if the Court were to accept that these are valid

arguments for the admission of evidence of Ragin’s prior litigation, Rule 403 requires exclusion

of the evidence of prior litigation because there is too high a risk of juror prejudice and

confusion.”).

       In sum, unless the result in a prior case is preclusive, it should be excluded from trial. Fed.

Prac. & Procedure (Wright & Miller) § 4416 (“[I]t has long been settled that preclusion ordinarily

is an all-or-nothing thing. The prior determination either precludes any further dispute about

the matter, or it is irrelevant and cannot be admitted even as some evidence bearing on the

matter.”) (emphasis added); see also Wytex Prod. Corp. v. XTO Energy, Inc., No. 12-cv-339, 2014

WL 12799569, at *6 (E.D. Okla. Aug. 29, 2014) (“The Court finds that other lawsuits involving

XTO are not relevant to this lawsuit unless the outcome is res judicata on an issue involved

herein.”). Because everyone agrees that BMG v. Cox is not preclusive on any issue in this case,

the Court has properly excluded evidence about it from trial.




                                                 2
         Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 4 of 7




       D.      Cox Ended in a Confidential Settlement, Not a Jury Verdict.

       It is important to recognize that the BMG v. Cox jury verdict was reversed on appeal, and

then the parties reached a confidential settlement. See Aug. 24, 2018 Stipulation of Dismissal with

Prejudice (ECF No. 1019), Case No. 1:14-cv-1611 (E.D. Va.). In reversing the jury’s verdict, the

Fourth Circuit held that the district court erroneously permitted the jury to find knowledge if BMG

proved that Cox had “generalized knowledge . . . that infringement was occurring somewhere on

its network.” BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293, 311 (4th Cir.

2018). Thus, the Fourth Circuit ordered that on remand (1) “the contributory infringement

instruction should require that Cox knew of specific instances of infringement,” and (2) “the

court’s willful blindness instruction should similarly require a conclusion that Cox consciously

avoided learning about specific instances of infringement.” Id. at 311-12. Despite this holding,

Plaintiffs want to suggest that the Cox verdict “validated” Rightscorp’s copyright notices for

purposes of Grande’s knowledge of infringement and, relatedly, for purposes of Grande’s

knowledge that its conduct was infringing (i.e., willfulness). Plaintiffs also want to suggest that

the Cox result is a substitute for independently vetting Rightscorp’s system and evidence. In fact,

the Fourth Circuit’s reversal directly refutes all of those claims.

       As a result, if Plaintiffs were to introduce evidence regarding the Cox jury verdict, then

Grande would have to respond with evidence regarding the evidence adduced (or not) at trial in

Cox, the Fourth Circuit’s reversal, and the parties’ subsequent settlement. All of this would result

in the inevitable “trial within a trial” that is to be avoided at all costs. See, e.g., Kinan v. City of

Brockton, 876 F.2d 1029, 1034 (1st Cir. 1989) (“[I]ntroducing evidence of the two other cases

would inevitably result in trying those cases, or at least portions of them, before the jury. The

merits of the two other cases would become inextricably intertwined with the case at bar. The




                                                   3
         Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 5 of 7




result would be confusion and the consumption of a great deal of unnecessary time. And although

the complete procedural history of the two cases is not in the record, it is obvious that both were

settled prior to verdict. The cases were decided on the basis of negotiations, not findings of fact.”).

       E.      The Cox Verdict Is Irrelevant.

       In addition to being inadmissible hearsay (as Grande previously explained in ECF No. 318

at 2-3), the result in Cox is not relevant to any issue in this case. With respect to the knowledge

element of Plaintiffs’ claim, the parties agree that the fundamental question is whether Grande (1)

knew about specific instances of infringement or (2) was willfully blind to such specific instances

(i.e., deliberately avoided learning about them). See ECF No. 401 at 32 (Plaintiffs’ proposed

instruction), 34 (Grande’s proposed instruction). Unless Plaintiffs plan to argue that the jury

should simply reach the same conclusions as the jury in Cox—which they plainly may not—the

Cox verdict has no conceivable bearing on these determinations.

       The Cox outcome is likewise irrelevant to willfulness. The parties dispute the proper

standard, but the Court previously indicated that it requires proof that Grande “knew its conduct

constituted contributory copyright infringement or acted with reckless disregard of Plaintiffs’

rights as copyright holders.” ECF No. 268 at 43. Again, unless Plaintiffs intend to urge the jury

to follow the Cox verdict—while ignoring the Fourth Circuit’s subsequent reversal—the Cox

evidence is irrelevant to these questions. Infringement and willfulness must be decided on the

facts and evidence in this case, not based on a determination in another case based on evidence

and arguments not before this jury. See DataTreasury Corp. v. Wells Fargo & Co., No. 2:06-cv-

72, 2010 WL 11468934, at *18 (E.D. Tex. Oct. 5, 2010) (granting motion in limine to exclude

evidence of public consent judgments offered to show willful patent infringement because “any

additional probative value of the consent judgments is substantially outweighed by the dangers of




                                                  4
         Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 6 of 7




unfair prejudice”)

                                         CONCLUSION

       The Court has repeatedly ordered that Plaintiffs may not introduce evidence of the BMG v.

Cox verdict at trial. The Court should re-affirm those rulings and deny Plaintiffs’ motion in limine

(ECF No. 419).


Dated: October 17, 2022

                                              By: /s/ Richard L. Brophy
                                                  Richard L. Brophy
                                                  Zachary C. Howenstine
                                                  Mark A. Thomas
                                                  Margaret R. Szewczyk
                                                  Sydney K. Johnson
                                                  ARMSTRONG TEASDALE LLP
                                                  7700 Forsyth Blvd., Suite 1800
                                                  St. Louis, Missouri 63105
                                                  Telephone: 314.621.5070
                                                  Fax: 314.621.5065
                                                  rbrophy@armstrongteasdale.com
                                                  zhowenstine@armstrongteasdale.com
                                                  mszewczyk@armstrongteasdale.com
                                                  mathomas@armstrongteasdale.com
                                                  skjohnson@armstrongteasdale.com

                                                      J. Stephen Ravel
                                                      Texas State Bar No. 16584975
                                                      Diana L. Nichols
                                                      Texas State Bar No. 00784682
                                                      KELLY HART & HALLMAN LLP
                                                      303 Colorado, Suite 2000
                                                      Austin, Texas 78701
                                                      Telephone: 512.495.6429
                                                      Fax: 512.495.6401
                                                      Email: steve.ravel@kellyhart.com
                                                              jr.johnson@kellyhart.com
                                                              diana.nichols@kellyhart.com

                                                      Attorneys for Defendant Grande
                                                      Communications Networks LLC



                                                 25
        Case 1:17-cv-00365-DAE Document 420 Filed 10/17/22 Page 7 of 7




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on October 17, 2022, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                    /s/ Richard L. Brophy
                                                    Richard L. Brophy




                                                6
